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                IN THE UNITED STATES DISTRICT COURT
               FOR THE SOUTHERN DISTRICT OF ILLINOIS
                              MINUTES OF JURY TRIAL

DATE: May 4, 2022                   DAY: 7             CASE NO. 21-cr-40039-SMY
PRESIDING:         HON. STACI M. YANDLE
                                         )   COURT REPORTER: Chris LaBuwi
UNITED STATES OF AMERICA,                )
                                         )
Plaintiff,                               )   COURTROOM DEPUTY:           Stacie Hurst
                                         )
                                         )   CONVENED:   9:05 a.m.
             vs.                         )   ADJOURNED: 4:36 p.m.
                                         )
MINGQING XIAO,                           )   CRIMINAL:       X
                                         )
Defendant.                               )   RECESS: 11:44 a.m. – 12:30 a.m.


Counsel for Government: Peter Reed, Scott Verseman, Shawn Shugert
Counsel for Defendant: Ryan Poscablo, Patrick Linehan, Michelle Nasser, Brittney
                       Denley, James Hobbs, Joshua Dupre

FINAL ARGUMENT:
Peter Reed on behalf of Government.
Ryan Poscablo on behalf of defendant.
Shawn Shugert on behalf of Government.

Defendant's oral renewed Rule 29 motion for judgement of acquittal on counts 3-7 is
DENIED.

MARSHAL SWORN: X

JURY RETIRES: 12:33 p.m.                 JURY RETURNS: 4:20 p.m.

ALTERNATE JURORS EXCUSED: X

VERDICT GIVEN TO COURT: X VERDICT READ: X JURY POLLED: X

VERDICT:
We, the jury, find the defendant, MingQing Xiao, NOT GUILTY of False Statement as
charged in Count 3 of the Indictment.
We, the jury, find the defendant, MingQing Xiao, GUILTY of False Statement on Tax
Return as charged in Count 4 of the Indictment.
We, the jury, find the defendant, MingQing Xiao, GUILTY of Fraud or False Statement on
Tax Return as charged in Count 5 of the Indictment.
We, the jury, find the defendant, MingQing Xiao, GUILTY of Fraud or False Statement on
Tax Return as charged in Count 6 of the Indictment.
We, the jury, find the defendant, MingQing Xiao, GUILTY of Failure to File Report of
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Foreign Bank Account as charged in Count 7 of the Indictment.

JURY EXCUSED: X

DEFENDANT CALLED BEFORE COURT: X

EXHIBITS WITHDRAWN:            X

The Court grants Defendant’s oral motion to extend the time to file a motion for judgment
notwithstanding the verdict to 30 days.

Disposition set for August 11, 2022, at 9:30 AM in Benton , Illinois before Judge Staci M.
Yandle.

Bond continued.




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